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                                                                                 E-FILED
                                                    Friday, 02 October, 2020 07:48:12 AM
                                                             Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                      URBANA DIVISION

UNITED STATES OF AMERICA,             )
                                      )
               Plaintiff,             )
                                      )
     v.                               )      Case No. 17-cr-30010
                                      )
CONNER MCGLAUGHLIN,                   )
                                      )
               Defendant.             )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court are Defendant Conner McGlaughlin’s pro se

motion (d/e 51) and amended motion for compassionate release

(d/e 56) requesting a reduction in his term of imprisonment

pursuant to 18 U.S.C. § 3582(c)(1)(A). For the reasons set forth

below, the motions are DENIED.

                            I. BACKGROUND

     On May 18, 2017, Defendant McGlaughlin pled guilty to

Count 1 and 2 of the Indictment and consented to the forfeiture

allegations. Count 1 charged Defendant with possessing with

intent to distribute mixtures or substances containing

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and


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(b)(1)(C). Count 2 charged Defendant with possessing a firearm in

furtherance of a drug trafficking crime in violation of 18 U.S.C. §

924(c)(1)(A)(i), (c)(1)(B)(i), and (c)(1)(A)(iii). On September 22, 2017,

Defendant was sentenced to 1 day of imprisonment on Count 1and

5 years imprisonment on Count 2 to run consecutively to Count 1

and a 3-year term of supervised release on both counts to run

concurrently. Defendant is currently serving his sentence at FCI

Forrest City Low, and he has a projected release date of September

5, 2021.

     On August 12, 2020, Defendant filed a pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). See

d/e 51. On August 20, 2020, following the appointment of the

Federal Public Defender’s Office to represent Defendant, an

Amended Motion for Compassionate Release was filed. See d/e 56.

Defendant seeks compassionate release due to the COVID-19

pandemic.

     On August 25, 2020, the Government filed a response

opposing Defendant’s motion. See d/e 60. The Government argues

that Defendant has not established extraordinary and compelling

reasons to warrant a reduction in his sentence and the factors set


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forth in 18 U.S.C. § 3553(a) do not warrant release.

     On August 26 and September 29, 2020, a hearing was held on

Defendant’s motions where the Court heard from Defendant and

counsel.

                            II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See

18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30


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days from when the inmate made his or her request, whichever is

earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     The Court concludes that § 3582(c)(1)(A) does not require the

Court to wait to consider a compassionate release request if there is

a credible claim of serious and imminent harm from this pandemic.

That does not mean the Court will waive the exhaustion

requirements in all cases. The decision must be made on a case-

by-case basis.

     In this case, Defendant argues that he submitted a request to



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the warden of his facility in August 2020, more than 30 days ago,

but did not receive a response. The Government is not contesting

that point. Therefore, the Court finds that Defendant has met the

30-day requirement pursuant to 18 U.S.C. § 3582(c)(1)(A).

     Having considered the relevant factors set forth in 18 U.S.C. §

3553(a), the Court concludes that Defendant has not established

that extraordinary and compelling reasons warrant a reduction in

his term of imprisonment. The spread of COVID-19 has presented

extraordinary and unprecedented challenges for the country and

poses a serious issue for prisons. Due to the infectious nature of

the virus, the Centers for Disease Control and Prevention (CDC) and

state governments have advised individuals to practice good hygiene

and social distancing and isolation. Social distancing can be

difficult for individuals living or working in a prison.

     As of October 1, 2020, FCI Forrest City Low only has two

inmates and 10 staff members with active COVID-19 cases. See

COVID-19 Cases, Federal Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last accessed October 1, 2020).

As of that date, 651 inmates and 4 staff have recovered. Id.

FCI Forrest City Low has made strides in trying to control the


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pandemic at the facility.

     Defendant is a 21-year-old male who has no serious medical

conditions. See d/e 38. Defendant argues that he possibly had

COVID-19, but the facility did not test him to determine whether he

had it or not. See d/e 56, p. 13-14. Defendant contends that he

may have myocarditis as a complication from having COVID-19. Id.

at 14. It is too speculative to assume Defendant had COVID-19 and

now may have myocarditis. Defendant’s medical records do

support a finding that Defendant has any serious medical

conditions. Defendant does not have any comorbidities that would

increase the risks associated with COVID-19. See People at Any

Age with Underlying Medical Conditions, CDC,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last accessed

October 1, 2020). Defendant has not presented any evidence that

he faces an increased risk of severe illness or death from COVID-19.

     The COVID-19 pandemic does not warrant the release of every

federal prisoner with medical concerns. While the Court is

sympathetic to Defendant’s request for compassionate release, he

has not shown that he would be at a higher risk at his facility than


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he would be if released.

     The Court must also reconsider the factors set out in 18

U.S.C. § 3553(a). Defendant is currently serving a 60-month term

of imprisonment. Defendant has a history of criminal activity, and

BOP has assessed Defendant at a high recidivism level. Since being

incarcerated, Defendant has committed two disciplinary infractions,

one of which occurred in February 2020. The Court has

considered the factors in § 3553(a) and concludes that they do not

entitle Defendant to compassionate release.

     The Court, taking all the relevant facts into account, finds that

Defendant has not established the existence of extraordinary and

compelling reasons that warrant a reduction in his term of

imprisonment.

                           III. CONCLUSION

     For the reasons set forth above, Defendant McGlaughlin’s pro

se motion (d/e 51) and amended motion for compassionate release

(d/e 56) are DENIED. This ruling does not preclude Defendant

from filing another motion for compassionate release in the future if

circumstances change. The Clerk is DIRECTED to send a copy of

this Opinion to FCI Forrest City Low.


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ENTER: October 2, 2020


                              /s/ Sue E. Myerscough
                              SUE E. MYERSCOUGH
                              UNITED STATES DISTRICT JUDGE




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